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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


  IDA SMITH                                    CIVIL ACTION NO. 04-2236

  VERSUS                                       JUDGE S. MAURICE HICKS, JR

  WALTER W. GERHARDT, ET AL.                   MAGISTRATE JUDGE HORNSBY


                                      JUDGMENT

        Based on the foregoing Memorandum Ruling,

        IT IS ORDERED that the Motion for Summary Judgment (Record Document 38)

  filed by defendant Walter W. Gerhardt be and is hereby GRANTED.

        IT IS FURTHER ORDERED that the Motion for Summary Judgment (Record

  Document 44) filed by defendants Federal National Mortgage Association and Regions

  Bank be and is hereby GRANTED.

        IT IS FURTHER ORDERED that the Motion for Summary Judgment (Record

  Document 40) filed by third party defendant Dean Morris, L.L.P. be and is hereby

  GRANTED.

        IT IS FURTHER ORDERED that all of plaintiff Ida Smith’s claims be and are hereby

  DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that defendants Federal National Mortgage

  Association’s and Regions Bank’s third party claims against Dean Morris are likewise

  DISMISSED WITH PREJUDICE.
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          The Clerk of Court is hereby directed to close the case.

          THUS DONE AND SIGNED in Shreveport, Louisiana, this 15th day of September,

  2006.




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